Case 1:22-cv-00409-REP Document 95-2

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UNITED STATES DISTRICT COURT
DISTRICT OF IDAHO

MH, TB, KB, SG, AC, BM, individually, and
G Doe, by and through her parents and next
friends, JANE Doe and JOHN Doe,

Plaintiffs,
VS.

ALEX ADAMS, in his official capacity as the
Director of the Idaho Department of Health
and Welfare; Dr. MAGNI HAMSO, in her
official capacity as the Medical Director of the
Idaho Division of Medicaid and individually;
and the IDAHO DEPARTMENT OF
HEALTH AND WELFARE,

Defendants.

CASE NO. 1:22-CV-409-REP

DECLARATION OF HOWARD
BELODOFF IN SUPPORT OF MOTION
FOR A TEMPORARY RESTRAINING
ORDER TO PRESERVE THE STATUS
QUO

Howard Belodoff declares, under penalty of perjury, and states as follows:

1. I am counsel of record for the Plaintiffs in the above-entitled matter and have

personal knowledge of the matters set forth herein.

2. I certify that the Exhibit attached hereto is a true and correct copy of the same.

3. Attached as Exhibit 1 is a true and correct copy of the transcript of the hearing on

DECLARATION OF HOWARD BELODOFF IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER TO PRESERVE THE STATUS QUO - Page 1
Case 1:22-cv-00409-REP Document95-2 Filed 06/28/24 Page 2 of6

Defendants’ Motion to Dismiss on May 2, 2023.

DATED: June 28, 2024.
IDAHO LEGAL AID SERVICES, INC.

/s/ Howard A. Belodoff

Howard A. Belodoff
Attorney for Plaintiffs

DECLARATION OF HOWARD BELODOFF IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER TO PRESERVE THE STATUS QUO - Page 2
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UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

SOUTHERN DIVISION

MH and TB, Case No. 1:22-CV-00409-REP
Plaintiffs,
Boise, Idaho
vs. May 2, 2023

DAVE JEPPESEN, et al,

)
)
)
)
)
) 2:00 p.m. to 3:30 p.m.
)
)
Defendants. )
)

VOLUME I OF I
MOTION TO DISMISS
BEFORE THE HONORABLE RAYMOND E. PATRICCO
UNITED STATES MAGISTRATE JUDGE

COURT RECORDER: TRANSCRIPTION BY:
JACKIE HILDEBRAND TAMARA A. WEBER, CSR
U.S. District Court P.O. Box 387

Caldwell, Idaho 83606

Proceedings recorded by electronic recording. Transcript
produced by transcription service.

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APPEARANCES:

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MS. ANDREA H. NIELSEN

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I, court-approved transcriber, certify that the
foregoing is a correct transcript from the official electronic

sound recording of the proceedings in the above-entitled matter.

/s/ Tamara A. Weber 7/10/23
Signature of Approved Transcriber Date

Tamara A. Weber

Typed or Printed Name

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But my point overall on that, Your Honor, and this is
the purpose of sort of the overview is I don't think the Court
needs to reach that issue to decide this case and to rule on
this motion in our favor. You know, if you had -- if you assume
that transgender status is a quasi-suspect class, well, the fact
is here that the State doesn't discriminate on that level
because it does provide treatment for gender dysphoria.

Plaintiffs' Complaint specifically alleges that they
have received Medicaid benefits, that those Medicaid benefits
have included treatment for gender dysphoria that includes --
that included hormone blockers at the time and so this is a
situation where the State is providing care.

And what the Supreme Court's been clear about in
Geduldig, if you look at 495 of the decision, it says,
"Particularly with respect to social welfare programs, so long
as the line draw by the State is rationally supportable, the
courts will not interpose their judgment as to the appropriate
stopping point. The equal protection clause does not require
that a state must choose between attacking every aspect of a
problem or not attacking a problem at all."

And what that means and what courts have held in many
subsequent decisions is that if there's a suspect class and the
State decides to address a problem with respect to a suspect
class, how it addresses that problem is subject to rational

basis review.

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